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                                                                                                                                  JS-3/Ent
                                                      United States District Court
                                                      Central District of California


 UNITED STATES OF AMERICA vs.                                              Docket No.              CR 08-1208(A)-JFW

 Defendant          1. Nicholas Lakes                                      Social Security No. 5            7   2   1
 akas:    Dmitri Livshits, Dimitri Nadeshdin                               (Last 4 digits)

                                        JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                    MONTH   DAY   YEAR
         In the presence of the attorney for the government, the defendant appeared in person                       June     29   2009


  COUNSEL          x WITH COUNSEL                                               1. George Buehler, Rtnd.
                                                                                        (Name of Counsel)

      PLEA         x GUILTY, and the court being satisfied that there is a factual basis for the plea.             NOLO            NOT
                                                                                                                CONTENDERE        GUILTY
     FINDING      There being a finding of        x GUILTY, defendant has been convicted as charged of the offense(s) of:
                  Computer Fraud in violation of 18 U.S.C. §1030(a)(4) [cts 1,2]; Mail Fraud in violation of 18 U.S.C.
                  §1341 [ct 3,4,5]; and Aiding and Abetting and Causing an Act to Be Done in violation of 18 U.S.C. § 2
                  [cts 1, 2, 3, 4, 5 ]; Criminal Forfeiture in violation of 18 U.S.C. § 981(a)(1)(C), 21 U.S.C. § 853 (p) and
                  28 U.S.C. § 2461(c) [ct 6] as charged in the Six-Count First Superseding Information filed on February
                  19, 2009
JUDGMENT          The Court asked whether defendant had anything to say why judgment should not be pronounced. Because
AND PROB/         no sufficient cause to the contrary was shown, or appeared to the Court, the Court adjudged the defendant
  COMM
  ORDER
                  guilty as charged and convicted and ordered that:

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the court that the defendant, Nicholas Lakes, is
hereby committed on counts one through five of the first-superseding information to the custody of the Bureau of
Prisons to be imprisoned for a term of 70 months. This term consists of 70 months on each of counts one and two, and
70 months on each of counts three, four and five, to be served concurrently.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three years on each
of counts one through five of the first-superseding information, to be served concurrently under the following terms
and conditions:

1.        The defendant shall comply with the rules and regulations of the U.S. Probation Office and General Order 318;

2.        The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one
          drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, not to
          exceed eight tests per month, as directed by the Probation Officer;

3.        The defendant shall participate in an outpatient substance abuse treatment and counseling program that includes
          urinalysis, saliva and/or sweat patch testing, as directed by the Probation Officer. The defendant shall abstain
          from using illicit drugs, alcohol, and abusing prescription medications during the period of supervision;


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4.       During the course of supervision, the Probation Officer, with the agreement of the defendant and defense
         counsel, may place the defendant in an approved residential drug treatment and counseling program approved
         by the U. S. Probation Office, that includes urinalysis, saliva and/or sweat patch testing for treatment of narcotic
         addiction or drug dependency, until discharged by the Program Director;

5.       Defendant shall possess or use computers, computer-related devices, screen/user names, passwords, email
         accounts, and Internet Service Providers (ISPs) only within the scope of his employment or as otherwise
         approved by the Probation Office for personal use. After obtaining the Probation Office's approval for
         possession or use of a particular computer, computer-related device, screen/user name, password, e-mail
         account, or ISP, defendant need not obtain approval for subsequent use of that particular item. Computer and
         computer-related devices include personal computers, personal data assistants (PDAs), Internet appliances,
         electronic games, cellular telephones, and computer storage media, as well as peripheral equipment, that can
         access, or can be modified to access, the Internet, electronic bulletin boards, other computers, or similar media;

6.       All computers, computer-related devices, computer storage media, and peripheral equipment used by defendant
         shall be subject to search, seizure (including unannounced seizure for the purpose of search), and the
         installation of search and/or monitoring software and/or hardware;

7.       The defendant shall cooperate in the collection of a DNA sample from the defendant;

8.       During the period of community supervision the defendant shall pay the special assessment and any restitution
         in accordance with this judgment's orders pertaining to such payment; and

9.       The defendant shall comply with the rules and regulations of the Bureau of Immigration and Customs
         Enforcement (ICE), and if deported from this country, either voluntarily or involuntarily, not reenter the United
         States illegally. The defendant is not required to report to the Probation Office while residing outside of the
         United States; however, within 72 hours of release from any custody or any reentry to the United States during
         the period of court-ordered supervision, the defendant shall report for instructions to the United States
         Probation Office located at the United States Court House, 312 North Spring Street, Room 600, Los Angeles,
         California.

It is ordered that the defendant shall pay to the United States a special assessment of $500, which is due immediately.

It is ordered that the defendant shall pay restitution in the total amount of $2,897,629.00 pursuant to 18 U.S.C. §
3663A.

Defendant shall pay restitution in the total amount of $2,897,629.00 to the victims as set forth in a separate victim list
prepared by the probation office which this Court adopts and which reflects the Court's determination of the amount of
restitution due to the victims. The victims list, which shall be forwarded from the Probation Office to the fiscal section
of the clerk's office, shall remain confidential to protect the privacy interests of the victims.

                     VICTIM                                           AMOUNT
                     XXXXX                                            $ 747,981.00
                     XXXXX                                            $ 752,912.00
                     XXXXX                                            $ 124,555.00
                     XXXXX                                            $ 594,979.00
                     XXXXX                                            $ 319,900.00
                     XXXXX                                            $ 357,302.00
                     TOTAL                                            $ 2,897,629.00
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If the defendant makes a partial payment, each payee shall receive approximately proportional payment unless another
priority order or percentage payment is specified in this judgment.

Restitution shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to
the Bureau of Prisons' Inmate Financial Responsibility Program. If any amount of the restitution remains unpaid after
release from custody, nominal monthly payments of at least $50 shall be made during the period of supervised release.
These payments shall begin 30 days after the commencement of supervision. Nominal restitution payments are ordered
as the court finds that the defendant's economic circumstances do not allow for either immediate or future payment of
the amount ordered.

The defendant shall forfeit all right, title and interest in the funds on deposit in the TD Ameritrade account no.
XXXXX1551 in the amount of $1,140,000, as provided in the Preliminary Order of Forfeiture, filed on
February 26, 2009 [Doc. No. 53]. The Preliminary Order of Forfeiture is incorporated and made a part of the Judgment
and Commitment Order filed on June 29, 2009.

All fines are waived because it is found that the defendant lacks the ability to pay a fine in addition to restitution.

The defendant shall comply with General Order No. 01-05.

Court orders that the defendant remain at the Metropolitan Detention Center in Los Angeles until he is designated to a
permanent facility. The Court recommends that the defendant be placed in Lompoc or Terminal Island.

The court recommends that the Bureau of Prisons conduct a mental health evaluation of the defendant and provide all
necessary treatment.

Court recommends that the defendant be placed in the 500 hour drug treatment program (RDAP) while in the custody
of the Bureau of Prisons.

On the Government’s Motion, the Court orders the Underlying Indictment dismissed as to this defendant.

Defendant informed of right to appeal.

 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and Supervised Release within this judgment
 be imposed. The Court may change the conditions of supervision, reduce or extend the period of supervision, and at any time during the supervision period or within the
 maximum period permitted by law, may issue a warrant and revoke supervision for a violation occurring during the supervision period.




             June 29, 2009
             Date                                                                 JOHN F. WALTER, U. S. District Judge
 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                                  Terry Nafisi, Clerk



             June 29, 2009                                                By            /s/
             Filed Date                                                           Shannon Reilly, Deputy Clerk


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 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                                STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:

 1.    The defendant shall not commit another Federal, state or local          10. the defendant shall not associate with any persons engaged in
       crime;                                                                      criminal activity, and shall not associate with any person
 2.    the defendant shall not leave the judicial district without the             convicted of a felony unless granted permission to do so by the
       written permission of the court or probation officer;                       probation officer;
 3.    the defendant shall report to the probation officer as directed by      11. the defendant shall permit a probation officer to visit him or her
       the court or probation officer and shall submit a truthful and              at any time at home or elsewhere and shall permit confiscation
       complete written report within the first five days of each                  of any contraband observed in plain view by the probation
       month;                                                                      officer;
 4.    the defendant shall answer truthfully all inquiries by the              12. the defendant shall notify the probation officer within 72 hours
       probation officer and follow the instructions of the probation              of being arrested or questioned by a law enforcement officer;
       officer;                                                                13. the defendant shall not enter into any agreement to act as an
 5.    the defendant shall support his or her dependents and meet                  informer or a special agent of a law enforcement agency
       other family responsibilities;                                              without the permission of the court;
 6.    the defendant shall work regularly at a lawful occupation unless        14. as directed by the probation officer, the defendant shall notify
       excused by the probation officer for schooling, training, or                third parties of risks that may be occasioned by the defendant’s
       other acceptable reasons;                                                   criminal record or personal history or characteristics, and shall
 7.    the defendant shall notify the probation officer at least 10 days           permit the probation officer to make such notifications and to
       prior to any change in residence or employment;                             conform the defendant’s compliance with such notification
 8.    the defendant shall refrain from excessive use of alcohol and               requirement;
       shall not purchase, possess, use, distribute, or administer any         15. the defendant shall, upon release from any period of custody,
       narcotic or other controlled substance, or any paraphernalia                report to the probation officer within 72 hours;
       related to such substances, except as prescribed by a physician;        16. and, for felony cases only: not possess a firearm, destructive
 9.    the defendant shall not frequent places where controlled                    device, or any other dangerous weapon.
       substances are illegally sold, used, distributed or administered;


 :     The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).


           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS
           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject
 to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution , however, are not
 applicable for offenses completed prior to April 24, 1996.
           If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.
           The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).
           The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
 Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
 §3563(a)(7).
           Payments shall be applied in the following order:
                      1. Special assessments pursuant to 18 U.S.C. §3013;
                      2. Restitution, in this sequence:
                                Private victims (individual and corporate),
                                Providers of compensation to private victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                      5. Other penalties and costs.




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                         SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

        As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release
 authorizing credit report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure
 and (3) an accurate financial statement, with supporting documentation as to all assets, income and expenses of the
 defendant. In addition, the defendant shall not apply for any loan or open any line of credit without prior approval of
 the Probation Officer.

         The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or
 other pecuniary proceeds shall be deposited into this account, which shall be used for payment of all personal expenses.
 Records of all other bank accounts, including any business accounts, shall be disclosed to the Probation Officer upon
 request.

          The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess
 of $500 without approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied
 in full.

                         These conditions are in addition to any other conditions imposed by this judgment.




                                                                 RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                  to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                 United States Marshal


                                                           By
            Date                                                 Deputy Marshal




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                                                                  CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date




                     U. S. Probation Officer/Designated Witness                     Date




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